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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------------- x
                                                        :
 UNITED STATES OF AMERICA,                              :
                                                        :   20 Cr. 330 (AJN)
               v.                                       :
                                                        :
 GHISLAINE MAXWELL,                                         NOTICE OF MOTION
                                                        :
                                                        :
                            Defendant.                      ORAL ARGUMENT REQUESTED
                                                        :
                                                        :
------------------------------------------------------- x


 DEFENDANT GHISLAINE MAXWELL’S NOTICE OF MOTION UNDER THE DUE
   PROCESS CLAUSE TO SUPPRESS ALL EVIDENCE OBTAINED FROM THE
 GOVERNMENT’S SUBPOENA TO                     AND TO DISMISS COUNTS
                          FIVE AND SIX
                        (Pretrial Motion # 3)

        PLEASE TAKE NOTICE that, upon the accompanying memorandum of law and

exhibits, Defendant Ghislaine Maxwell, through counsel, respectfully moves to suppress under

the due process clause all evidence obtained from the government’s subpoena to

and to dismiss Counts Five and Six.

        Dated: January 25, 2021
               New York, New York
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                              Respectfully submitted,


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